              IN THE UNITED STATES DISTRICT COURT FOR THE
                     EASTERN DISTRICT OF TENNESSEE
                              AT KNOXVILLE



 UNITED STATES OF AMERICA                     )
                                              )
 v.                                           )     No. 1:07-CR-84
                                              )
 TREMIS WOODLEY                               )


                                     ORDER


             This criminal case is before the court on the report and

 recommendation of the magistrate judge that the defendant be found competent

 to understand the nature and consequences of the proceedings against him and

 able to assist in his defense and be found competent to stand trial. No objections

 to the report and recommendation have been filed. The court has reviewed the

 Bureau of Prison’s mental evaluation of the defendant and agrees with the

 magistrate judge’s recommendation.

             Therefore, the court will ADOPT the report and recommendation in

 its entirety, and the court finds the defendant competent.

             IT IS SO ORDERED.


                                              ENTER:



                                                     s/ Leon Jordan
                                              United States District Judge



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